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                       Case 22-01455-SMG                Doc 13       Filed 03/16/23            Page 1 of 1

                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                                      www.flsb.uscourts.gov

    In re:                                                          Case No. 22-19132 -BKC- SMG
    OWMWATIE CHOWDHURY                                              Chapter 13




                       Debtor                  I
    AXOS BANK F/K/A B OF I FEDERAL
    BANK,

                       Plaintiff,
    vs.                                                             Adversary Proceeding No.          22-01455-SMG

    EQRAMULCHOWDHURY

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    TO: CLERK OF COURT                                              State Court Case No. CACE-20-01301 O

                                TRANSMITTAL OF RECORD TO STATE COURT
                                    PURSUANT TO ORDER OF REMAND

    DOCUMENTS TRANSMITTED:

    -✓-- Certified Copy of Order of Remand Entered on 02/10/2023
    _,__       Original Bankruptcy File, Including Certified Docket
    ___        Copies of State Court Documents Filed With Removal Proceeding
    ___        Transcripts of bankruptcy hearings
    ___        Copy of Bankruptcy File and Notice of Appeal
    ---        Other:

    DATE TRANSMITTED: 3/15/2023

                                                                   CLERK OF COURT

                                                                    By: Tanesha Graster-Thomas
                                                                            Deputy clerk
    Copies to:
    Attorney for Plaintiff                                          Telephone: (954) 769-5700
    Attorney for Defendant


    ---- - - - - - - - - - - - - - - -STATE COURT ACKNOWLEDGMENT- - - - - - - - - - - - - - - - - -
    WE HEREBY ACKNOWLEDGE RECEIPT OF THE ABOVE REFERENCED BANKRUPTCY
    FILE.

                                                                   CByL-.ERK~OF~~·
    DATE:)//j,/;g                                                       __
               t       r                                                    o         e

    PLEASE RETURN COPY TO BANKRUPTCY COURT UPON COMPLETION
                                D   301 N. Miami Avenue, Miami, Florida 33128
                                D 299 E.   Broward Blvd., Ft. Lauderdale, Florida 33301
                                D   1515 North Flagler Drive, West Palm Beach, Florida 33401

     (rev. 03/09/23)
